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 4                           UNITED STATES DISTRICT COURT
 5                         CENTRAL DISTRICT OF CALIFORNIA
 6

 7    SHOSHANA SCHELLEMBERG                      )   Case No.: 2:18-CV-02568 JGB FFM
                                                 )
 8                                               )
                   Plaintiffs,                   )   ORDER DISMISSING FIRST
 9          vs.                                  )   AMENDED COMPLAINT WITH
                                                 )
10    COUNTY OF LOS ANGELES, et al.              )   PREJUDICE
                                                 )
11
                   Defendants.                   )
                                                 )
12                                               )
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15          FOR GOOD CAUSE APPEARING, and pursuant to the Stipulation of the
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      parties, IT IS HEREBY ORDERED that the First Amended Complaint is hereby
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      dismissed with prejudice. Each party is to bear their own attorneys’ fees and
18

19    costs. This is dispositive of the entire action.
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21    DATED: October 14, 2021
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22                                             HON. JESUS G. BERNAL
23
                                               U.S. DISTRICT COURT JUDGE

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                                              Order - 1
